                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS
                                  WESTERN DIVISION

Leonard Logan                                      )
(#R-11048),                                        )
                                                   )
                        Plaintiff,                 )
                                                   )            Case No. 18 C 6874
                v.                                 )
                                                   )            Judge Philip G. Reinhard
                                                   )
Bruce Rauner, et al.                               )
                                                   )
                        Defendants.                )

                                               ORDER


        Plaintiff’s application for leave to proceed in forma pauperis [8] is granted. The court
orders the trust fund officer at plaintiff’s place of incarceration to deduct $9.71 from plaintiff’s
account for payment to the Clerk of Court as an initial partial payment of the filing fee and to
continue making monthly deductions in accordance with this order. The court directs the Clerk of
Court to send a copy of this order to the trust fund officer at the facility where plaintiff is confined.
Summonses, however, shall not issue. Plaintiff’s complaint [1] is dismissed without prejudice. If
plaintiff wants to proceed with this lawsuit, he must submit an amended complaint that complies
with this order. Failure to submit an amended complaint by January 25, 2019, will result in
summary dismissal of this lawsuit. The Clerk of Court is directed to send plaintiff an amended
complaint form, a blank USM-285 form, and instructions along with a copy of this order.

                                            STATEMENT


        Plaintiff Leonard Logan, a prisoner currently confined at Lawrence Correctional Center,
brings this pro se civil rights action pursuant to 42 U.S.C. § 1983 against twenty-one defendants
(individuals and entities) in connection with certain events that occurred while plaintiff was
confined at Dixon Correctional Center. Before the court are plaintiff’s application for leave to
proceed in forma pauperis and complaint for initial review.

        Plaintiff has demonstrated that he cannot prepay the filing fee, and thus, his application for
leave to proceed in forma pauperis is granted. Pursuant to 28 U.S.C. § 1915(b)(1), (2), the court
orders: (1) plaintiff to immediately pay (and the facility having custody of him to automatically
remit) $9.71 to the Clerk of Court for payment of the initial partial filing fee and (2) plaintiff to
pay (and the facility having custody of him to automatically remit) to the Clerk of Court twenty

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percent of the money he receives for each calendar month during which he receives $10.00 or
more, until the $350 filing fee is paid in full. The court directs the trust fund officer to ensure that
a copy of this order is mailed to each facility where plaintiff is housed until the filing fee has been
paid in full. All payments shall be sent to the Clerk of Court, United States District Court, 219
South Dearborn Street, Chicago, Illinois 60604, attn: Cashier’s Desk, 20th Floor, and should
clearly identify plaintiff’s name and the case number assigned to this case.

       Under 28 U.S.C. §§ 1915(e)(2) and 1915A(a), the Court is required to screen pro se
prisoners’ complaints and dismiss the complaint, or any claims therein, if the court determines that
the complaint or claim is frivolous or malicious, fails to state a claim on which relief may be
granted, or seeks monetary relief against a defendant who is immune from such relief. See Jones
v. Bock, 549 U.S. 199, 214 (2007); Turley v. Rednour, 729 F.3d 645, 649 (7th Cir. 2013).

         Courts screen prisoner litigation claims in the same manner as ordinary Federal Rule of
Civil Procedure 12(b)(6) motions to dismiss. See Maddox v. Love, 655 F.3d 709, 718 (7th Cir.
2011). A motion under Rule 12(b)(6) challenges the sufficiency of the complaint. See Hallinan
v. Fraternal Order of Police of Chi. Lodge No. 7, 570 F.3d 811, 820 (7th Cir. 2009). Under Rule
8(a)(2), a complaint must include “a short and plain statement of the claim showing that the pleader
is entitled to relief.” Fed. R. Civ. P. 8(a)(2). The short and plain statement under Rule 8(a)(2)
must “give the defendant fair notice of what the claim is and the grounds upon which it rests.”
Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (citation omitted). Under the federal
notice pleading standards, a plaintiff’s “[f]actual allegations must be enough to raise a right to
relief above the speculative level.” Twombly, 550 U.S. at 555. Put differently, a “complaint must
contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its
face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570).

        “In reviewing the sufficiency of a complaint under the plausibility standard, [courts] accept
the well-pleaded facts in the complaint as true.” Alam v. Miller Brewing Co., 709 F.3d 662, 665-
66 (7th Cir. 2013). Courts also construe pro se complaints liberally. See Erickson v. Pardus, 551
U.S. 89, 94 (2007) (per curiam).

        The complaint on file cannot proceed as drafted.

         First, the complaint runs afoul of Rule 8(a)(2) of the Federal Rules of Civil Procedure,
which requires “a short and plain statement of the claim showing that the pleader is entitled to
relief,” in order to “‘give the defendant fair notice of what the . . . claim is and the grounds upon
which it rests[.]’” Twombly, 550 U.S. at 555; Windy City Metal Fabricators & Supply, Inc. v. CIT
Tech. Fin. Servs., Inc., 536 F.3d 663, 667 (7th Cir. 2008). Plaintiff’s complaint, which consists of
thirty-nine handwritten pages is neither “short” nor “plain.” Further, it jumps around between
defendants and particular events that occurred as far back as 2014 (while he was incarcerated at
Dixon Correctional Center). Plaintiff’s complaint, as drafted, simply provides too many details.
See United States ex rel. Garst v. Lockheed-Martin Corp., 328 F.3d 374, 378-79 (7th Cir. 2003) (a

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complaint that is too jam-packed with details makes it too difficult to comprehend and too difficult
to answer). If plaintiff wishes to proceed with this lawsuit, he must submit an amended complaint
that streamlines his allegations, clarifies his claim(s), and provides only the information that is
relevant to each claim(s) he is attempting to raise.

        Second, and relatedly, depending on the type of claim(s) plaintiff is attempting to raise in
this lawsuit, misjoinder may be an issue. As noted above, plaintiff has set forth a lengthy narrative
(dating back to 2014) about certain events that occurred while he was confined at Dixon
Correctional Center. Plaintiff identifies twenty-one defendants (individuals and entities) and ten
separate claims associated with these allegations. Plaintiff may not bring unrelated claims against
unrelated defendants in a single complaint. See George v. Smith, 507 F.3d 605, 607 (7th Cir.
2007). ANY AMENDED COMPLAINT MUST BE LIMITED TO RELATED CLAIMS
AGAINST PROPERLY JOINED DEFENDANTS. Any remaining claim(s) must be brought in a
separate lawsuit, accompanied by a separate application to proceed in forma pauperis.

        Plaintiff should also keep in mind that he must identify proper defendants to any claim he
brings in an amended complaint. To be held liable under section 1983, an individual must have
caused or participated in a constitutional deprivation. Kuhn v. Goodlow, 678 F.3d 552, 556 (7th
Cir. 2012); Pepper v. Vill. of Oak Park, 430 F.3d 805, 810 (7th Cir. 2005). There is no respondeat
superior liability under section 1983. See Kinslow v. Pullara, 538 F.3d 687, 692 (7th Cir. 2008).
Supervisors can only be held responsible for the constitutional violations of their subordinates if
the violation occurred at the supervisor’s direction or with his or her knowledge and consent. See
Hildebrandt v. Ill. Dep’t of Nat. Res., 347 F.3d 1014, 1039 (7th Cir. 2003). Thus, if plaintiff
chooses to submit an amended complaint, he should focus on naming only those individuals
allegedly responsible for the complained-of conduct, list them in the caption of any amended
complaint, and briefly/concisely explain in the “Statement of Claim” what each individual did to
allegedly violate plaintiff’s rights.

        Accordingly, the court dismisses plaintiff’s complaint [1] without prejudice. If plaintiff
wants to proceed with this lawsuit, he must submit an amended complaint that complies with this
order. Any amended complaint must be submitted on the court’s required form. See Local Rule
81.1. Any amended complaint also must comport with Federal Rule of Civil Procedure 11; Rule
11 provides that by signing a pleading, a party represents to the court that his claims are warranted
by existing law and that the factual contentions have evidentiary support or likely will have
evidentiary support after further investigation. Fed. R. Civ. P. 11(b). Plaintiff must write both the
case number and the judge’s name on the amended complaint, sign it, and return it to the Prisoner
Correspondent. Plaintiff is cautioned that an amended pleading supersedes the original complaint
and must stand complete on its own. Therefore, all allegations against all defendants must be set
forth in the amended complaint without reference to the original complaint. Any documents
plaintiff wants the court to consider in its threshold review of the amended complaint also must be
attached. Plaintiff is advised to keep a copy for his files.


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        The Clerk of Court will provide plaintiff with an amended civil rights complaint form and
instructions along with a copy of this order. Failure to submit an amended complaint by the date
set forth above will result in summary dismissal of this lawsuit.

Date: 12/27/2018                            ENTER:



                                            _________________________________________
                                                  United States District Court Judge


                                                           Docketing to Mail Notices. (LC)




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